i           Case 2:10-cr-00585-JCM-BNW            Document 75    Filed 09/23/11               Page 1 of 1        .




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     6                          IJNITED STATES DISTRICT COURT
                                      DISTRICT OF NEV ADA
     7
         UNIR'ED STATESOFAMERICA,                         )
     8                                                    )
                           Plaintiff,                     )
     9         v.                                         )
                                                          )       2:10-CR-585-RLH (PAL)
    10 ANTIONE HALL,a/k/aO ookworm,''                     )
                                                          )
    11                     Defendant.                     )            '
    12                                  ORDER O F FO RFEITURE

    13        ThisCourtfound on June 14,2011,thatANTIONE IIM L, a/k/at'Bookworms',shallpay a

    14 criminalfozfeituremoneyjudgmentof$5,100.00 inUnitedStatesCurrency,pursuantto Fed.R.
    15 Crim.P.32.2($41)and(2);andTitle21,Uniled StatesCode,Sections253(a)(l)and(p).Docket
    16 #59.

    17        THEREFORE,IT IS HEREBY ORDERED , ADJUDGED,AND DECREED thattheUnited
    18 Sttesrecoverfrom ANTIONE HALL, a/k/açl
                                            Bookwornf',acriminalforfeituremoneyjudgment
    19 intheam ountof$5,100.00inUnitedStatesCurrencypursuantto Fed.R Crim.P.32,
                                                                              2(b)(4)(A)and
                                                                                   .




    20 (B);andTitle2l,UnitedStatesCode)Sections853(a)(1)and(m).
    21        DATEDthi Y'
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                                           -c.-       .   669*'2.t-        '
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                                                           D TATES DI RICT JUDGE
    24                                             C
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